Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 1 of 7




         Exhibit D-10
         Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 2 of 7




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                 :
SUSAN BYRNE,                     :
    Plaintiff                    :              CIVIL ACTION NO.:
                                 :              3:17-cv-01104 (VLB)
                                 :
v.                               :
                                 :
YALE UNIVERSITY,                 :
     Defendant                   :              DECEMBER 30, 2019
________________________________ :

         DEFENDANT’S MOTION IN LIMINE TO EXCLUDE EVIDENCE RELATED TO
                  A POTENTIAL CLAIM FOR PUNITIVE DAMAGES

         Defendant Yale University (“Yale”) hereby moves in limine to exclude

evidence related to a potential claim for punitive damages.

   I.       Relevant Background

         Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case in February 2016.

   II.      Punitive Damages

         Plaintiff’s Proposed Jury Charge indicate she intends to ask the jury to

award punitive damages.         See, e.g., Plaintiff’s Proposed Jury Charge.      First,

punitive damages are not available under the Connecticut Fair Employment

Practices Act. Vera v. Alstom Power, Inc., 189 F. Supp. 3d 360, 382 (D. Conn. 2016)

(“[P]unitive damages are not available under CFEPA.”). Although CFEPA was

amended effective October 1, 2019 expressly to permit punitive damages, that

amendment is not retroactive.
       Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 3 of 7




       Conn. Gen. Stat. §§ 1-1(u) and 55-3 create a presumption against the

retroactivity of newly enacted legislation, which applies absent contrary legislative

intent. Estate of Brooks v. Comm’r of Revenue Servs., 325 Conn. 705, 720 n.15

(2017); Gil v. Courthouse One, 239 Conn. 676, 687-89 (1997).          These statutes

respectively state that “[t]he passage or repeal of an act shall not affect any action

then pending” and “[n]o provision of the general statutes, not previously contained

in the statutes of the state, which imposes any new obligation on any person or

corporation, shall be construed to have a retrospective effect.” Conn. Gen. Stat. §§

1-1(u) and 55-3. The rule of construction embodied in these statutes is applicable

to this pending litigation, as there is no express legislative intent to retroactively

apply the October 2019 amendment. Compare Conn. Gen. Stat. 46a-104, and 2019

Conn. Pub. Act 19-16, with Gil, 239 Conn. at 687, 689 (finding legislature clearly

expressed retroactive intent where 1991 amendment states it applies to “all

employees injured ‘on or after October 1, 1969’”).

       Second, the issue of punitive damages under Title VII should be bifurcated.

Plaintiff should be precluded from introducing evidence related to Yale’s earnings

or other financial information because the potential probative value, if any, of such

evidence during the liability phase is far outweighed by the danger of unfair

prejudice to Yale. Rule 403 of the Federal Rules of Evidence provides that even

otherwise relevant evidence may be excluded if:

         its probative value is substantially outweighed by the
         danger of unfair prejudice, confusion of the issues, or
         misleading the jury, or by considerations of undue
         delay, waste of time, or needless presentation of
         cumulative evidence.




                                          2
       Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 4 of 7




Fed. R. Evid. 403.

      Moreover, Rule 42(b) of the Federal Rules of Civil Procedure permits

bifurcation of issues “to avoid prejudice.” The Second Circuit has held that it

would “often be prejudicial to a defendant to attempt to litigate its financial

condition during the trial on the issues of liability and compensatory damages. . .”

Smith v. Lightning Bolt Prods., 861 F.2d 363, 373-74 (2d Cir. N.Y. 1988); see also

Vasbinder v. Ambach, 926 F.2d 1333, 1344 (2d Cir. 1991) (“Punitive damages are to

be tailored to the defendant’s ability to pay, and normally that class of evidence is

not admitted or desirable during the liability and compensatory damages phase of

the case.”); Tillery v. Lynn, 607 F. Supp. 399, 403 (S.D.N.Y. 1985) (“New York courts

have recognized [that a] ‘defendant’s wealth should not be a weapon to be used by

plaintiff . . . .” (quoting Rupert v. Sellers, 368 N.Y.S. 2d 904, 912 (4th Dep’t 1975))).

Bifurcation is an accepted means of addressing this potential prejudice: it is

appropriate to accommodate a plaintiff’s interest in submitting evidence regarding

a defendant’s financial condition by “delay[ing] trial as to the amount of an award

of punitive damages until the usual issues of liability and compensatory damages

have been tried, along with the matter of whether the defendant's conduct warrants

any award of punitive damages at all.” Smith, 861 F.2d at 374. If the jury finds in

favor of the plaintiff on all of these issues, the parties should then be allowed to

present evidence so that a jury could consider an award of punitive damages. Id.

      Courts in the Second Circuit have permitted such bifurcation. See, e.g.,

Ejchorszt v. Daigle, No. 3: 02-CV-01350 (CFD), 2009 U.S. Dist. LEXIS 50327, at *2 (D.

Conn. June 16, 2019) (granting motion to bifurcate trial as to punitive damages “for




                                           3
       Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 5 of 7




judicial economy and to avoid prejudice to [defendant] by forcing him to litigate his

financial condition during the trial”); Jackson v. City of White Plains, No. 05-cv-

0491 (NSR), 2016 U.S. Dist. LEXIS 6469, at *10 (S.D.N.Y. Jan. 19, 2016) (granting

bifurcation of punitive damages portion of trial and noting that “[c]ourts in this

district have granted such requests”); Crown Cork & Seal Co. v. Credit Suisse First

Boston Corp., 288 F.R.D. 335, 339 (S.D.N.Y. 2013) (granting request for separate

trial phase to determine punitive damages and referring to the bifurcation

discussed in Smith as “customary practice”); Munafo v. Metro. Transp. Auth., No.

98 CV-4572 (ERK), 2003 U.S. Dist. LEXIS 13495, at *68 (E.D.N.Y. 2003) (bifurcating

the issue of punitive damages from liability “[b]ecause of the danger of unfair

prejudice”).

      Bifurcation of the issue of punitive damages in this case is entirely

appropriate. Any attempt by Plaintiff to offer financial information related to Yale

University prior to any liability determination could emphasize that the Plaintiff is

an individual and Yale is a large organization with resources, which is not a

permissible consideration in the determination of liability. The jury also could be

confused as to why they are hearing about Yale’s resources, where such evidence

has nothing at all to do with the challenged decisions or other evidence relating to

those decisions. Defendant respectfully submits that given the potential undue

prejudice of this type of evidence, the Court should bifurcate the trial to prevent

the jury from considering Defendant’s financial information unless and until the

jury has found in favor of Plaintiff on liability and thus there must be consideration

of punitive damages.




                                          4
          Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 6 of 7




          Should the Court grant Yale’s request for bifurcation and the jury ultimately

determines that an award of punitive damages may be appropriate, Defendant

proposes the jury be instructed as set forth in the Punitive Damages charge in the

parties’ Requests to Charge.

   III.      Conclusion

          For all these reasons, Defendant Yale University respectfully moves to

exclude evidence related to a potential claim for punitive damages.

                                          DEFENDANT,
                                          YALE UNIVERSITY

                                   By:    /s/ David C. Salazar-Austin
                                          David C. Salazar-Austin (ct25546)
                                          Victoria Woodin Chavey (ct14242)
                                          Jackson Lewis PC
                                          90 State House Square, 8th Floor
                                          Hartford, CT 06103
                                          david.salazar-austin@jacksonlewis.com
                                          victoria.chavey@jacksonlewis.com
                                          Tel.: (860) 522-0404
                                          Fax: (860) 247-1330




                                            5
       Case 3:17-cv-01104-VLB Document 98-10 Filed 12/30/19 Page 7 of 7




                            CERTIFICATION OF SERVICE

             I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                               /s/ David C. Salazar-Austin
                                               David C. Salazar-Austin




4820-6178-9359, v. 1




                                           6
